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                                                                                              FILED
                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA                               m 1 7 2021
                                           Norfolk Division
                                                                                      CLERK, U.S. DISTRICT CUUHl
                                                                                             NORFni K. VA

  CENTRIPETAL NETWORKS,INC.,

           Plaintiff,

  V.                                                            Civil Action No. 2:18cv94


  CISCO SYSTEMS,INC.,

           Defendant.




                                       OPINION AND ORDER


           Defendant, Cisco Systems, Inc. ("Cisco") filed a Rule 59(a)(2) motion for a new trial

  regarding the Court's rulings as to the '176 Patent and the '806 Patent as well as a new trial as to

  willfulness and damages. Cisco simultaneously filed a Rule 52(b) motion regarding direct

  infringement, damages, and an amended judgment as well as a Rule 54(b) request for partial

  judgment. There are overlapping findings of fact and conclusions of law applicable to Cisco's

  several motions and the Court will therefore rule upon all of Cisco's motions in this opinion and

  order.

           For the reasons that follow, the Court DENIES each of Cisco's motions.




                                         I. INTRODUCTION


           As to infringement and validity, Centripetal and its experts relied on 1) Cisco's technical

  documents as interpreted by CentripetaTs experts, 2) admissions in Cisco's pleadings, and 3) the

  testimony of Cisco's own engineers, principally Mr. Llewallyn and Mr. Jones, Cisco's



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  distinguished engineers. Cisco attempts to classify the Court's rulings as sua sponte, however,the

  most compelling evidence originated in Cisco's own technical documents introduced at trial by

  Centripetal and thus are anything but sua sponte. Cisco attempted to avoid the impact of its own

  technical publications by using animations prepared solely for trial as the basis for its expert

  testimony. The Court found that the animations misrepresented the functionality ofthe infringing

  products and found Cisco's retained experts' testimony unpersuasive as to infringement and

  validity as well as damages.



           The four Centripetal patents which the Courtfound Cisco infringed, when combined,cover

  a broad spectrum ofsecurity software which promoted Cisco's security products from an also ran

  to a leader in the security marketplace.See PTX-1460.Cisco portrays itselfas"the largest provider

  of network infrastructure and services for many years before any of the patents issued." Cisco's

  Reply Briefin Support of59(a)(2) at 17". This was probably accurate as to hardware, but not as to

  the software required to operate it until Cisco began infringing the Centripetal patents on June 20,

  2017.




           The Centripetal '193 Patent, referred to at trial as the "FORWARD OR DROP

  EXFILTRATION PATENT," the technology from which is embedded in Cisco's switches and

  routers,enabled Cisco to proactively search for bad actors attempting to exfiltrate confidential data

  from the switches and routers which operate its networks. The '856 Patent, referred to at trial as

  the"ENCRYPTED TRAFFIC PATENT,"the technology from which is also embedded in Cisco's

  switches and routers, enabled Cisco to proactively search for and find bad actors and malware in


          'The Court is citing to the page numbers listed at the bottom ofthe briefs, not the page numbers assigned
          to the document by the Clerk's office.
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  the unencrypted portion of encrypted packets without decrypting them. Cisco repeatedly claimed

  that it was the first to possess this technology,but in fact it copied the technology from Centripetal.

  See e.g., PTX-383;PTX-569;PTX-1009.



         The '176 Patent, referred to at trial as the "CORRELATION PATENT," the technology

  from which is also embedded in its switches and routers, enabled Cisco to correlate its NetFlow

  intelligence with proxy data fi-om multiple third party sources as well as to correlate intelligence

  fi-om multiple sources within NetFlow. This enabled Cisco to proactively obtain up to date

  intelligence data for use in its infi-inging security software embedded in its switches and routers.



         The '806 Patent, referred to at trial as the "RULE SWAP PATENT," the infnnging

  technology from which is also embedded in its switches, routers and firewalls enabled Cisco to

  more efficiently and proactively transform up to date data and collate this intelligence into rules

  which are then used to detect and stop malware, bad actors (i.e. hackers)and exfiltration.



         Accordingly, the patent claims within Centripetal's patented technology work in

  combination with one another on Cisco's hardware to transform the obsolete portions of Cisco's

  software from reactive to proactive. The four infi-inged patents then work together to furnish

  Cisco's customers with proactive security software throughout its network hardware, thereby

  contributing to Cisco's goal of transforming itself from a hardware supplier to a full-service

  network security supplier.
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         Although Cisco began infringing on June 20,2017,it continued its copying ofCentripetal's

  patents through 2019 and later, as is illustrated by its technical documents introduced at trial by

  Centripetal.

                 II. JUNE 20.2017 AS THE DATE OF FIRST INFRINGEMENT
                          AND A BASELINE TO COMPARE SALES



         Cisco alleges that the Court ruled sua sponte in fixing the date ofCisco's first infnngement.

  The evidence contradicts this claim. In determining the damages based on a reasonable royalty,

  the Court employed the hypothetical negotiation approach. Also known as the "willing licensor-

  willing licensee" approach, this calculation "attempts to ascertain the royalty upon which the

  parties would have agreed had they successfully negotiated an agreementjust before infnngement

  began." Lucent Techs., Inc. v. Gateway, Inc., 580 F. 3d 1301, 1324 (Fed. Cir. 2009). "The date

  used for the occurrence of the hypothetical negotiation is the date that infringement began."

  Centripetal Networks, Inc. v. Cisco Sys., Inc., 2:18-CV-94,2020 WL 5887916,56(E.D. VA Oct.

  5, 2020) (citing Wang Labs., Inc. v. Toshiba Corp., 993 F. 2d 858, 870 (Fed. Cir. 1993))

  [hereinafter October 5,2020 Opinion]. Cisco stated in its opening statement that Encrypted Traffic

  Analytics,an infiinging technology, came to the marketplace in June of2017.See Trial Transcript

  [Docket Nos. 496-550][hereinafter Tr.] at 221:19. As per PTX-1135, Cisco's own press release

  from June 20,2017 marked the date offirst infringement. Lance Gunderson,Centripetal's damages

  expert,explained why this date should apply to all four patents:


         "[T]hese patents really work in concert. They work together. They provide this
         operationalization of threat intelligence, this new concept that was a new and
         innovative concept brought about by Centripetal. So they really kind of worked
         together.

         . . . [T]hey have equal weight, each of them adds an important element to this
         operationalization— [l]t seems like that they work in concert, and it's my opinion
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          that any negotiation would have negotiated a license to all ofthe patents. Even some
          ofthe patents that actually issued afterwards. My understanding is the patents were
          actually filed for prior to this hypothetical negotiation, they would have been
          known,and these reasonable actors would have licensed everything." Tr. 1445:14-
          1446:2.


           Cisco's damages expert, Dr. Stephen Becker, agreed that June 20,2017 would be

  about the date ofthe hypothetical negotiation. See Tr. at 2993. Further, Becker agreed that

  the date of first infringement for at least some of the patents at issue would be June 20,

  2017:


          Q: And you agree that the start date of damages for purposes of this case, as it
              relates to the various [four] patents, begins starting June 20 of 2017; is that
              right?
          A: Yes. It's not every single patent and every single product, but generally that's
             when it starts. Tr. 2964:4-8 (cross-examination by Ms. Kobialka).

          The Court foimd the date of first infringement to be Jime 20, 2017. See Tr. 725:3-8 (Dr.

  Michael Mitzenmacher stating this as the date of first infnngement); see also, Tr. 1534:17(Cisco

  cross-examining Mr. Gimderson and confirming his stated date offirst infnngement was June 20,

  2017). The damages are calculated by positing what would be agreed upon at a hypothetical

  negotiation. See Lucent at 1324. Because all the infnnging patents work in concert—and because

  three ofthe four infiinged patents had been granted and the fourth filed for prior to June 20,2017

  and would have been known—it is reasonable to determine that all four patents would be

  negotiated for licensing at the same time. See Tr. at 1445:14-1446:2. As Mr. Gunderson stated in

  his testimony;


          You look for the date of first infnngement. You have a variety of patents, it's the
          same month that the '193 Patent was issued. There were also some accused
          products that were sold that month. So there's not a lot of dispute about this date
          that I'm aware of. They would negotiate a reasonable royalty for all [four] patents,
          in my opinion, at this time. Tr. 1444:24-1445:5. (direct examination by Ms.
          Kobialka).
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         This date was put forth by Centripetal, based upon a Cisco Publication PTX-1135,

  acknowledged by Cisco's own damages expert during his trial testimony,and certainly was

  not a sua sponte ruling ofthe Court as claimed by Cisco.



                                 III. DAMAGES - GENERALLY


         In its damages case Centripetal relied upon 1)an apportionment formula approved by the

  Federal Circuit,2)the only royalty rate cited by either party previously utilized in an infringement

  claim relating to the same family of patents, and 3) sales data obtained from Cisco which

  corroborated the damages claimed by Centripetal and accorded with economic reality.



         Cisco presented a damages expert whose theory lacked any precedential or evidentiary

  support in patent law, and was completely devoid ofeconomic reality.



         The Court found Centripetal's evidence on infnngement, validity, and damages credible

  and persuasive. The Court found Cisco's defenses objectively unreasonable and in many areas not

  credible, as well as finding its conduct willful and egregious in infringing the four patents. The

  Court found that Centripetal did not prove by a preponderance ofthe evidence that the '205 Patent

  was infringed by Cisco. The '205 Patent dealt primarily with a method of'tapping' telephones and

  was used mostly by law enforcement to record such calls. This is the opposite of the functionality

  ofthe infringing products, Cisco never claimed the ability to make,use or sell products based upon

  the '205 Patent technology. The'205 Patent had no impact upon the Cisco sales data analyzed by

  the Court or the Court's computation of any form of damages.
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               IV. MAKING.SELLING AND USING THE INFRINGING PRODUCTS
                 IN COMBINATION IN THE UNITED STATES AND ELSEWHERE
                                             AND DAMAGES



         Cisco challenged the Court's calculation of damages in both its Rule 52(b) and 59(a)(2)

  motions. In the introduction to its briefin support ofits Rule 52(b)/54(b) motion, Cisco argued the

  following: "It is imdisputed that the accused products are sold separately and that (for instance)

  Cisco switches, routers or firewalls may be bought and used without buying the other products in

  the combined systems found to infringe." Cisco's Brief in Support of its Rule 52(b) Motion

  [Docket No.628]at 2."Centripetal did not show,and the Comt did not find, that every one ofthe

  accused products would meet claims' limitations when sold or used by themselves." Doc. 628 at

  11. The evidence demonstrates that the accused products were made and sold to be used in the

  United States embedded with and in combination with the infringing technology.



         Cisco's hardware - i.e., switches, routers, and firewalls - cannot operate vwthout software,

  and the software that constituted Cisco's operating systems contained Centripetal's patented

  technology, which Cisco thereby infringed. Further, Centripetal's experts testified that it was

  Cisco's post June 20, 2017 infringing software that was embedded in Cisco's switches, routers,

  and firewalls. Multiple technical documents introduced in evidence by Centripetal, but published

  and circulated by Cisco itself, illustrated in diagrams and explained in text precisely how the

  infnnging software functioned in the Cisco networks, which operated through its switches,routers,

  and firewalls. Thus, Centripetal presented credible and persuasive evidence of infringement

  corroborated by Cisco's own technical publications and the testimony of its own employees;

  including Mr. Llewallyn and Mr. Jones who were designated "distinguished engineers," as well as

  by Dr. Schmidt, a retained Cisco expert. Cisco for its noninfringement evidence relied upon
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  animations created for trial, upon which their independent experts in turn relied in forming their

  opinions. The Court found the animations misrepresented the functionality of the infringing

  technology and found the testimony of Cisco's independent experts unpersuasive and in many

  instances not credible, resulting in a finding that Cisco's defenses were objectively unreasonable.



         Cisco did not present any evidence that contradicted its own documents, employees, and

  Centripetal's experts. In fact, none of the authors or presenters of its technical documents were

  called as witnesses. Instead, Cisco tried to avoid responding to its own publications by creating

  misleading animations for use at trial. Cisco presented the testimony of Dr. Becker on its "lack of

  product combination" defense. Dr. Becker, its damages expert, testified as follows:

         Q. And just to be clear for the record, does that $13.4 billion represent the revenue
         fi-om Cisco customers who purchased the required combination of products for the
         '856?
         A.No. No.In fact it's, it is all ofthe revenue from all 98,800 customers, which we
         could see from looking at the StealthWatch data we know that the vast, vast
         majority of those customers just have the switch. They're just using the switches
         and routers, they're not also using this Cisco security product in the form ofthis, of
         StealthWatch.
         Q. Did Mr. Gimderson account for the fact that the accused switches and routers
         "can" be sold separately from the other products required for these accused
         combinations?
         A. No.
         Q.Do you know whether Mr. Gunderson had access to the same data that you had
         with respect to these revenue figures?
         A. He did. He has all the same data that I have and he could have looked at these
         combinations and didn't.
         Q. If Mr. Gunderson had considered the required combination of products, what
         would that have done to his royalty base in your view?
         A. Well, I think we know that mathematically his base would have been a very,
         very small fi'action of what it was since well-less than five percent ofthe customers,
         the data would indicate, have the combination that's required. Trial Tr. 2879:5-
         2880:3(Dr. Stephen Becker's testimony)(emphasis added).
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         However, testimony from Cisco's first independent expert to testify, Dr. Doug Schmidt,

  contradicts Dr. Becker's damages theory. Dr. Schmidt's factual testimony confirmed explicitly

  that ETA was embedded in Cisco's Accused Switches:



         THE COURT: Well, I read something that said ETA was embedded in the switch.
         What does that mean?
         THE WITNESS: That's correct. That's what itjust said here at the bottom. The
         last sentence that's on the screen right now says that.
         BY MR. GAUDET (Cisco counsel):
         Q. What part ofETA is embedded in the switch?
         A. The part that collects the Initial Data Packet and the Sequence ofPacket
         Length and Times.
         Q.Is that what it says in this document?
         A. That's exactly what it says in this document, yes. Trial Tr. 2131:12-22. See also
         PTX-963 illustrated.
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                                                         Traffic Analytics to Nearly
                                                         50,000 Customers
          in
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         II jiiere. Cisco has solved one oftlic higgesi cliiilleitgcs fnciiig ilic sccurit>' industry'- and now
         thousands ofCisco custoincrs can siiin using ihis breakthrough new network security technology.

         Back in June. Cisco announced KiicrypictI Trairic .Analytics ii breaklhrough technology liiai
         identifies malwaic in encrypted Irad'ic. willioul having lo break apail the packets and inspect the
         contents. Tliis unique solution allows scciiriiy teams lu balance .security and privacy - and
         significantly reduce costs along ibe way

         Since tJicn. nnciypicd Traffic .Analytics ot liTA - bus been in early licid trials witli customers
         around ihc world. T'hc feedback bus been Incredibly posilivc. mid we're now moving into general
         availability. Uui. us a great man once said. Ihere's one more ibing ... and wc lliiiik it's a big deal.

         Today, we're also expanding sup|virl ibr lil'A beyond campus .switching to the majority of our
         enterprise routing platforms, including oia branch ollicc rouici (the ISR and .ASR)and our vimial
         cloud senices rouiers(CSR).




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          Dr. Schmidt additionally confirmed in his factual testimony that Cisco's infringing

   products were sold in combination:


          BY MR. GAUDET(Cisco counsel):
          Q. Let's be clear: Does Cisco have any customers who would only buy this
          product and not have the other products that are actually designed to prevent
          malicious packets from coming in?
          MR. ANDRE: Objection. Lacks foundation. He doesn't know.
          THE WITNESS: I do know.
          BY MR.GAUDET:
          Q.Do you know that. Dr. Schmidt?
          A. Yes, ofcourse. Only ifthose customers are extremely looking forward to
          having their networks hacked. Good network administration, Your Honor, relies
          on what's called layered defense, where you have firewalls, you have tools like
          StealthWatch. This is a comprehensive technique. Comprehensive set of products.
          Trial Tr. 2130:7-20.


          While the Court rejected Dr. Schmidt's expert opinion on infringement and invalidity,

   when reckoning with competing testimony it is within the purview ofthe Court as the trier of fact

  to determine which witnesses and what testimony or portions thereofare to be accepted as credible.

  See Sartor v. Arkansas Natural Gas Corp., 321 U.S. 620,627(1944)("The rule has been stated

  that ifthe Court admits the testimony, then it is for the [trier of fact] to decide whether any, and if

  any what, weight is to be given to the testimony.")(internal quotations removed); see also. In re

  Methyl Tertiary Butyl Ether(MTBE)Prod Liab. Litig., 739 F. Supp. 2d 576,604(S.D.N.Y. 2010)

  ("In general, a [factfinder] is not required to choose between adopting or rejecting an expert's

  testimony wholesale; it is free to accept or reject expert's opinions in whole or in part and to draw

  its own conclusions from it.")



          Of course the software programs, such as StealthWatch, "can" be sold separately, as the

  sales data twice supplied by Cisco illustrates clearly. Customers who already owned Cisco

  hardware,as well as the outdated Cisco software such as the older versions ofStealthWatch, would

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   only need to purchase the newer infringing software so long as the customer's existing hardware

   was compatible. The Court found that the preponderance ofthe evidence established that the sales

   data for the switches, routers, and firewalls, produced during pretrial discovery and again in more

   detail at the damages hearing, listed by Cisco were embedded with software which infringed the

  four Centripetal patents. Cisco was asked to produce sales data on its "accused products," which

   Centripetal proved were "embedded with its patented software." Dr. Becker's testimony did not

  refer to the sales data produced in response to the Plaintiffs and the Court's requests for sales data

  of the "accused products." Cisco never produced any other evidence that its "accused products,"

  as identified in its pretrial sales data production or its second production at the Court's damages

   hearing, did not contain the infringing software, while Centripetal presented a preponderance of

  evidence that it did. The Court inferred that Cisco's failure to produce such evidence, even when

  Dr. Becker was invited to do so by the Court, is proofthat the sales data twice presented by Cisco

  did contain the infringing software. At no time did the Court request that Cisco produce the sales

  data for all Cisco's hardware and software, as Dr. Becker's testimony might suggest, but rather

  sales data relating to the "accused products."



          Not only is Dr. Becker's testimony contrary to the preponderance of the evidence in the

  case, but he also misrepresents the testimony of Centripetal's expert, Mr. Gunderson who stated

  as follows:



          BY MS.KOBIALKA (Centripetal's counsel):
          Q. And can we go to Slide 45? And can you just provide your key takeaways in
          terms of your opinion for the hypothetical negotiation?
          A. It's my belief that the Centripetal/Keysight patent license is the best available
          information we have and it's something that I did use. The asserted functionalities
          are contained within the switches, the routers, firewalls and the other accused
          products and they work in concert. And apportionment method needs to measure

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        value provided to Cisco, and so that's what I believe happened with Dr. Striegel's
        analysis. The asserted functionalities are of critical importance to Cisco and end-
        users, and 1 think we went through a series of schedules that showed that
        importance. And finally, I believe that Georgia-Pacific factors support the royalty
        and are consistent with the Keysight license agreed rate.^ Trial Tr. 1525:10-25
        (Lance Gunderson's testimony).

        Q. "ETA Impact on Security Bookings." And if you can explain here how this
        informed your opinion?
        A. So it says "We're also embedding it in our products right and you can look at
        like when we acquire Stealth Watch. It's now part of what we're doing at Cat 9000."
        So this is really talking about the importance of ETA and the fact that it impacts
        their bookings. And bookings, I think, means their sales, essentially. And it's really
        a revenue impactor, is what they're saying. Trial Tr. 1472:17-25 (Lance
        Gunderson's testimony); see PTX-31 at Bates No.006.

        Q. Okay. I'd like to turn to the royalty base, and we can go to Slide 36. What did
        you use for coming up with your royalty base?
        A. Well, again, in terms of the royalty base we need to look at what is infiinging,
        and we have to start out with what constitutes infiinging. And my understanding of
        the statute is, making it, using it, importing it, offering it for sell, and selling. Those
        are the ~ that's the way the statute reads. And so 1 always keep that in the back of
        our mind as we're looking at what the royalty base is. No. 2, the asserted patents
        are system claims, and so they're for a system comprising a variety of different
        things. And they're computer-readable medium claims which, in my mind, is
        software. It's really software that's on the system that makes the patents go,
        essentially. And then thirdly, the asserted functionalities are embedded in fiie
        switches, routers, and firewalls through this source code. This infringing code that
        is throughout the system. Trial Tr. 1499:18-1500:10 (Lance Gunderson's
        testimony).

        Q. And the 9300 Series the first ~ it looks like it's always included Encrypted
        Traffic Analytics, and that's the first model to do so?
        A. Yep. The way it's sold here is that it's always included, yep.
        Q. And in addition there was other evidence at trial, you also saw that ETA was
        also part ofthe Catalyst 9000 switches?
        A. Yes. Trial Tr. 1461:20-1462:2(Lance Gunderson's testimony).

        ^ Centripetal analyzed its damages using the Georgia-Pacific factors, and, under those parameters, Keystone
        was the only license transaction in which Centripetal had been involved. It sought additional licensing
        information from Cisco, but none was forthcoming. In answering Centripetal's interrogatory, Cisco stated
        that it was "not presently aware of any patent license agreements that relate to the functionality of accused
        instrumentalities, nor is Cisco aware ofany other license relevant to the evaluation ofa reasonable royalty of
        damages in this case." Trial Tr. 1478:23-1479:2 (Mr. Gunderson quoting Cisco's interrogatory response).
        However, Cisco's exhibit, DTX-729 at page 5, shows that Cisco had licensed Stealth Watch from Lancope
        for approximately two years before Cisco purchased Lancope in 2015. It is not clear if Cisco was contending
        that the Old Stealth Watch was not comparable to the post-2017 7.0 version of Stealth Watch or what the
        reason was for omitting the Stealth Watch license.

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        MS. KOBIALKA: If we could look at PTX-1507?
        BY MS. KOBIALKA:
        Q. Mr. Gunderson, can you describe what that document is?
        A. It's a veiy simple — excuse me ~
        THE COURT: Let me get to that.
        MS. KOBIALKA: Sorry. Maybe we can highlight the date at the bottom.
        THE COURT: This is 2017?
        MS. KOBIALKA: That's correct.
        THE COURT: All right. You may proceed.
        BY MS. KOBIALKA:
        Q. Mr. Gunderson, could you tell us what this document is?
        A. It's very similar to the last document that we had. Last document was talking
        about switches,this is talking about routers. Integrated Services Router. And it has
        a couple of different generations of routers, and then it's comparing it to the Cisco
        4000 Series of routers. And it's an attempt to upsell, to get the current clients of
        Cisco to buy this new and innovative router that has this great technology on it.
        Q. Okay. And I see a blue button up on top, says "How To Buy". Do you see that
        as well?
        A. Yes.
        Q. Okay. So this is evidence of how Cisco offers to sell and sells its routers, right?
        A.Yes. They point out the benefits,and they're trying to get their existing customers
        to upgrade and put in a Cisco 4000 Series router.
        MS.KOBIALKA:Okay. Now ifwe could highlight the second row,which is Cisco
        lOS XE Open operating system all the way across. Then if we could go down to
        couple it says Cisco DNA Center', Centralized Management.
        BY MS. KOBIALKA:
        Q. And could you just explain what we're seeing here with the check box under the
        4000 Series for these?
        A. So it shows no checks on the first two generations and then it had a check box
        that says that's included. So it's got the new lOS that's being accused here as the
        DNA Center, Centralized Management System. So there's a check box there. It has
        - you know, you look further down it says Cisco DNA Assurance Network
        Monitoring. It has a variety ofthe accused functionality that is included in the Cisco
        4000 Series.
        Q.If we could turn to the next page ofthis document? I'd like to just point out the
        two rows at the bottom. Says "Cisco StealthWatch Enterprise and Encrypted Traffic
        Analytics." Does this show that also those things come with the Cisco 4000 Series
        Integrated Services Router?
        A. Yes. You can see that those check boxes are there and they come with it, it
        appears, automatically.
        Q. Is this just one example like the other one with the switches of what you have
        seen in terms of how Cisco sells and offers to sell these products?


        ^ There is a glossary ofabbreviations attached as Appendix A ofthe Court's Opinion and Order dated
        October 5,2020.

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          A. Yeah. So even though they might have a separate charge, sometimes for
          StealthWatch, for example, they're selling it as one product. These all work
          together. And that goes to my point; This is, they're really - they're really trying to
          sell everything together and to sell a solution rather than just sell individual
          products. Even though they might charge differently for them, they're selling them
          together. Trial Tr. 1462:5-1464:13.

          The Court found this testimony presented by Centripetal credible, persuasive, and in accord

   with the preponderance of the evidence. Mr. Gunderson relied to a great extent upon Cisco's own

   publications, which corroborated his opinions. There is no equivalent corroboration from any

  source for Dr. Becker's opinions, which the Court rejected. In addition to the evidence Centripetal

   presented relative to the accused technology being embedded in Cisco's switches, routers and

   firewalls, Cisco effectively admitted as much in its discovery responses. When asked to produce

   data regarding its sales of accused products it included specific amounts for its switches, routers,

   and firewalls through December 31, 2019 in response to Centripetal's pretrial discovery. In its

   attempt to tailor its damage awards to the evidence, the Court requested that Cisco refine its sales

   data to a month to month outline and update it to begin in July of 2016 and extend it through the

   trial which began on May 8, 2020. The Court also invited Cisco's damage witness. Dr. Becker, to

  furnish any data supporting his damage theory, where at one point he stated that less than five

   percent of all sales involved sales in infringing combinations. The Court rejected his five percent

  figure since Cisco offered no sales data to support it, and it conflicted with Centripetal's evidence

  to the contrary that the Court found reliable. Cisco's sales data produced for pretrial discovery was

  the same data produced when the Court requested updated sales records. Cisco merely updated the

  sales records. At no point did Cisco dispute which accused products should have been included or

  excluded, nor did they at trial contradict with evidence to Centripetal's characterizations that the

  accused products contained in the sales data infringed.




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          With regard to damages, the Court accepted Centripetal's theory of damage calculations

   which was based upon Dr. Striegel's apportionment and Mr. Gunderson's and Mr. Malackowski's

   application of the financial data. The Court did not base its damages calculations upon the

   comparative sales data before and after June 20,2017 produced at the June 25,2020 Court hearing

   on damages, but upon the Firtjan and Ericsson cases in which the Federal Circuit expressly

   approved the damages theory employed by Centripetal. See Finjan, Inc. v. Blue Coat Sys., Inc.,

   879 P. 3d 1299, 1310(Fed. Cir. 2018); Ericsson. Inc. v. D-Link Sys., Inc., 773 F. 3d 1291, 1266

  (Fed. Cir. 2014). The Court also analyzed the Georgia-Pacific factors in its opinion. See October

  5,2020 Opinion at 126-49; 164-65.



          The Court did seek further evidence supporting damages from both parties in an attempt to

  resolve the vast difference in the approaches and results presented by the opposing parties. The

  request by the Court to Dr. Becker began on Trial Tr. 2968:1 and continued through Trial Tr.

  2979:5. The Court only had six(6)months ofsales data, beginning January 1,2017, preceding the

  June 20,2017 date offirst infnngement. The Court found that an additional six(6)months ofsales

  data would assist it in determining whether the data would support Centripetal's theory ofdamages

  or that of Cisco. The key portions ofthe Court's request for additional data is set forth as follows:


          THE COURT: All right. Dr. Becker. With respect to that data, what the Court
          needs, to try to figure out what's going on between these various opinions, is the
          sales ofthe products in the'176,the'193,the'205, and the'806.1 need the monthly
          sales of those products beginning in 2016, June of 2016. You can't begin them in
          the middle of a month, so let's say you'll begin them July '16, July of 2016, with
          those four patents. 1 want the monthly sales of the predecessor products for the
          period ofone year prior to June 20,2017,so that would include the entire month of
          Jime,for the predecessors ofthe accused products because the products are accused
          beginning June 20th. And when 1 say,"the accused products," I want to include the
         sales of all products after that date, on a month-to-month basis, which included the
         products- all the features accused by the plaintiff. Trial Tr. 2968:17-2969:7.


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             The Court then asked Dr. Becker to furnish the sales figures based upon his damages

   theory:

             THE COURT: ...Then I'd like for you to do the same thing with what you
             considered to be the relevant products, which — and you didn't consider, for
             example, in some cases, the routers and switches to be relevant products, so I just
             want the sales of what you considered to be the relevant products, which included,
             for example. StealthWatch in some instances, but it didn't include the routers and
             switches. Trial Tr. 2970:23-2971:4.



             Cisco only produced one set of documents in response to the Court's request. It did not

   produce any compilation ofsales figures to support Dr. Becker's theory of damages.

             The Court dealt specifically with the '856 Patent because it was granted after June 20,

  2017.


            THE COURT: All right. And for the'856 Patent, that patent ~ well,I would really
            just ask for the same data on the'856 Patent, but the patent wasn't granted until after
            the relevant date. It was granted in '18, and the relevant date is June 20 of'17, so
            just get me the same figures for that patent on a monthly basis.
             THE WITNESS: Right. 1 think, to the extent that ~ the data that's collected for
            these other four patents will ~ just glancing at the list, I think it will overlap with
            the '856, and 1 think, to the extent that we are able to collect the data and get it to
             you related to the other four, it will cover everything you're asking for on the '856.
             Trial Tr. 2973:5-16(Dr. Stephen Becker's testimony).

            In its Reply(Rebuttal) briefin support ofits Rule 59(a)(2) motion on Doc.635 p. 15, Cisco

  stated:



            Likewise, the Court put strict limits on this follow-up testimony from Dr. Becker,
            instructing Dr. Becker that he was "not to discuss your testimony with anyone
            between now and the time that you're prepared to deliver the data to the Court,"
            and cautioning Cisco's counsel that it was"to use good faith in limiting themselves
            to just fVimishing the source ofthe data." Trial Tr. 2978:4-25.

             What Cisco describes as "strict limits" applied to barring new damages theories(models).

  There were no limits on the data to be supplied.



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          THE WITNESS: Yes. There's a particular model, for example, that 1 think the
          record would show doesn't actually ~ won't work with any ofthe security products,
          but 1 think 1 have an understanding of what you want, and we will work to get that
          done.
          THE COURT: Well, and you're not limited by what 1 ask for.
          THE WITNESS: 1 understand.
          THE COURT: If there's something else along these lines - you know what I'm
          thinking about ~ that you think would be helpful, go ahead and include it. But I've
          got to resolve this tremendous difference in ~
          THE WITNESS: 1 understand.
          THE COURT:- what each side is coming up with, and I'm trying to think how 1
          can best do that. Trial Tr. 2977:2-17(Dr. Stephen Becker's testimony).

          What the Court requested and received was updated sales data through June 2020 plus

  comparative data for the year preceding the date ofthe alleged first infringement on June 20,2017.

  The sales data, if any, which Dr. Becker used in his damages calculations was not furnished. The

   Court already had the total sales of the accused products from January 1, 2017 to December 31,

  2019.


          On page 9 of Doc. 626, its initial memorandum in support of its Rule 59(a)(2) motion,

   Cisco states:



          In its Opinion and Order, the Court used the sales data from June 2016-June 2017
          in a way that Centripetal never had. The Court set forth a table summarizing
          "Centripetal's estimates regarding Cisco's revenue increase for the infringing
          products, after the date of first infringement, as compared to the predecessor
          products sales for the fiscal year before Jime 20,2017." Order at 139-140.

          And further stated on page 10 of Doc.626:

          Comparing product sales from June 2016 - June 2017 to product sales over the
          subsequent three-year period was not a damages model that Centripetal presented
          to the Court. Nor was it a model that Centripetal (via its damages experts Mr.
          Gunderson or Mr. Malackowski) had ever suggested would be appropriate.

          These allegations are not supported by the evidence.




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          As previously noted,comparative sales before and after June 20,2017 was not the damages

   model the Court utilized. It was evidence, which along with Cisco's marketing documents,

   corroborated the enormous increase in sales resulting ftom Cisco embedding Centripetal's

  software in its switches, routers, and firewalls. The Court also considered sales data as

   corroborating evidence in accord with Georgia-Pacific factor number 11, the comparison which

   originated with Centripetal's damages expert, James Malackowski, who stated:

          I calculated the averages sales for the predecessor products; I set that as the
          baseline; and then I calculated everything that was above the baseline for the
          accused sales to show you the rate of growth. Trial Tr. 3437:16-19

          Centripetal electronically filed a group of seven(7)exhibits outlining the data which was

  the basis for his above quoted testimony at the damages hearing. Mr. Malackowski received the

  underlying data from Cisco on June 18th and 19th, 2020. Cisco never objected to the Court's

  request for this data at trial, nor did it object to the manner in which the data was utilized during

  the damages hearing at which Centripetal compared the dollar amounts of sales ofthe predecessor

   products with the dollar amounts ofthe alleged sales ofinfringing products. Cisco's only objection

  to the data was the manner in which the sales ofthe predecessor switch products were computed.


          BY MR.JAMESON (Cisco counsel):
          Q. And, Dr. Becker, was there daylight between you and Mr. Malackowski with
          respect to what constituted the predecessor products to the 9000 series one?
          A. Yes. There's substantial ~ there's a substantial difference. Set aside this question
          of the update between Jrme 18th and June 19th, the slides that Mr. Malackowski
          just presented, which have the updated data in them,are comparisons that only treat
          the Cisco 3000 series switches as predecessors to the Catalyst accused 9000 series
          switches, and that is just ~ frankly, it's inconsistent with the facts and, I think,
          creates a very significant difference in the picture that is painted with respect to the
          sales of the predecessor switches versus the accused switches. Trial Tr. 3441:14-
          3442:1.


          As the Court noted in its opinion,the technical predecessor issue may have been caused by

  Cisco arguing at trial that the 3000 series of switches, not the 6000 series, was the "design"

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   predecessor to the 9000 series. However, as to damages, the 6000 series should be treated as a

   predecessor product. The Court reduced the differential by approximately $200,000, but the

   differential in sales of the infringing Cisco products was nonetheless $5,575.4 billion, which

   corroborates Centripetal's apportionment theory and royalty rate for damages. The $5,575.4 billion

   is not an exact figure, but it was only used to corroborate the multi-billion dollar damages figure

   claimed by Centripetal, not to actually compute damages.



          Dr. Becker's bottom line was to value all five(5)patents then in issue at $3,014,561.00. It

   is instructive to compare this number with PTX-584,a Cisco technical document from 2018 that

   states the average cost of a single data breach is $3.86 million, which is more than Dr. Becker's

   value for all of the patents combined. However, the cost of a data breach helps to explain why

   Cisco's customers paid it over twenty (20) billion dollars for its infringing security products for

   the period from June of2017 to June of2020.



          Very shortly before the Court's damages hearing on June 25, 2020, Cisco filed sales data

   separating sales in the United States from overseas sales in an effort to reduce the royalty base.

   This deepens the enigma Cisco created by its tactics in producing sales data in the United States

   and overseas while denying that any sales ofaccused products have been proven by Centripetal.



          Cisco took similarly inconsistent positions during the trial regarding infringement and

   validity attempting to use the case of 01 Communique Lab., Inc. v. Citrix Sys., Inc., 889 F. 3d 735,

   742-43(Fed. Cir. 2018)to support its arguments. The 01 Communique case did not support Cisco's

   inconsistent positions on infringement and invalidity then or on damages now. Cisco has cited no


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  other authority that supports the inconsistent positions regarding its sales data and making, using,

  and selling the accused products which it attempts to argue.



          The authority cited by Cisco in support ofits defense to damages based upon the worldwide

  sales of the accused products is inapposite. In fact, the case relied upon by Cisco {Power

  Integrations, Inc. v. FairchildSemiconductor Int'l, Inc., 711 F. 3d 1348, 1371 (Fed. Cir. 2013))

   makes clear that where products are made in the United States, the patent owner is entitled to

  damages for direct infringement based on overseas sales. Power Integrations discusses whether a

   party is entitled to damages for infringement that occurs outside of the United States. See 711 F.

  3d at 1371 ("[T]he underlying question here remains whether Power Integrations is entitled to

  compensatory damages for injury caused by infringing activity that occurred outside the territory

  of the United States."). As the court in Power Integrations notes, infringement cannot happen

  entirely outside of the United States: "[T]he entirely extraterritorial production, use, or sale of an

  invention patented in the United States is an independent, intervening act that, under almost all

  circumstances, cuts off the chain of causation initiated by an act of domestic infringement." Id.

  (emphasis added). Centripetal, however, did not seek damages for extraterritorial products. Thus,

  Power Integrations^ only value in this instance would be to show that the sales for infringing

   products produced in the United States but used or sold extraterritorially do indeed infringe.



          There is support for the Centripetal's damages award for worldwide sales due to direct

  irrfringement under § 271(a). The Supreme Court's decision in WesternGeco LLC v. ION

   Geophysical Corp allowed damages for foreign sales when there is infringement under subsection

  § 271(f)(2). 138 S.Ct. 2129, 2139 (2018). As the Supreme Court states, "Taken together, §


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  271(f)(2) and § 284 allow the patent owner to recover for lost foreign profits ... when the patent

  owner proves infringement under § 271(f)(2)." Id. WesternGeco suggests that a similar act of

  infnngement under § 271(a), where an infringing product was made in the United States but sold

   internationally, would qualify a plaintiff to the same damages for foreign sales set forth under §

  271(f)(2). See, e.g., Plastronics Socket Partners, Ltd. v. Dong Weon Hwang, No.

  218CV00014JRGRSP, 2019 WL 4392525, at *5 (E.D. Tex. June 11, 2019)("[T]hese instances

   would constitute infnngement under § 271(a), and thus, under the reasoning of WesternGeco,

   would be compensable even if the sale causing damage ultimately occurred abroad.").



          Cisco never offered any persuasive evidence to counter Centripetal's proffered testimony

  and its own response to requests for admissions evidencing that the accused products were made,

   used, and sold in the United States and the Court found for Centripetal on this issue. See Opinion

  at 32,86,and 100;see also, PTX-1409 at 5-6; PTX-1932. Further Cisco never offered evidence to

  rebut Centripetal's preponderance of the evidence that its infringing software was not embedded

  in its traditional hardware and sold in combination with it and when it was asked in pre-trial

  discovery and later by the Court to produce the data explaining the sales of its "accused products"

  it produced sales data which included "accused products" containing the inftinging technology.

   Cisco's only response to Centripetal's evidence was to say it's hardware "can" be sold separately,

  which is insufficient to challenge Centripetal's comprehensive presentation.



          Accordingly, the Court FINDS that Centripetal has proven that the sales data of the

  "accused products" which it produced was embedded with and sold in combination with the

  infnnging technology continued Centripetal's Patents'806,'856,'176 and '193. The Court further



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   FINDS that Centripetal accurately computed its damages based upon the correct data supplied by

   Cisco using a proper model including apportionment and the Georgia-Pacific factors approved by

   the Federal Circuit, and that Centripetal is entitled to damages based upon worldwide sales as

   Centripetal proved direct infringement of the four patents remaining in issue. Insofar as Cisco's

   Rule 59(a)and 52(b)and 54(b) motions relied upon arguments to the contrary they are denied.


                   V. MR.LLEWALLYN'S AFFIDAVIT AND PATENT '856

          Cisco's motion pursuant to Rules 52(b) and 54(b) challenged the Court's finding that the

  '856 Patent was directly infringed. Cisco attached affidavits from Mr. Daniel Llewallyn and Mr.

  Peter Jones, its distinguished engineers, to its initial Rule 59(a)(2) motion for a new trial.

  Llewallyn's affidavit and its attachments were marked as Exhibit A to Doc. 625. Cisco presented

   Mr. Llewallyn at trial in its defense of the claimed infnngement of the '856 Patent. Centripetal

  relied on Llewallyn's trial testimony in its infringement case particularly regarding Patent '856

  referred to at trial as the Encrypted Traffic Patent. In its post-trial Rule 59(a)(2) motion Cisco seeks

  to use Llewallyn's affidavit to support its noninfringement argument with regard to the'176 Patent

  which was referred to at trial as the Correlation Patent. Trial Tr.884:25.




          However, Llewallyn's expertise was related primarily to the old StealthWatch which he

  helped develop while employed by Lancope, which was purchased by Cisco. Cognitive Threat

  Analysis(CTA) was later integrated with an updated version of StealthWatch in 2017, and Mr.

  Llewallyn had only a basic familiarity with Encrypted Traffic Analysis(ETA)or CTA at the time

  of his trial testimony.


          BY MR. BAIRD (Cisco counsel):



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         Q. Okay. Now we're showing this with Cognitive Threat Analytics integrated with
         StealthWatch. When did that happen?
         A.The Cognitive Threat Analytics integration was in 2017.It was in version 6.10.3.
         THE COURT: This represents Version 10.3 of StealthWatch?
         THE WITNESS: 6.10.3, I'm sorry.
         THE COURT:6.10.3?
         THE WITNESS: That's correct.
         BY MR.BAIRD:
         Q. So this is -
         THE COURT: What do all those numbers stand for?
         THE WITNESS: Oh,that'sjust our numbering system.
         We have like our release levels. We'll call it 6.10, 6.11 as we move on. But if you
         have a minor release in between the bigger releases, that's where the third number
         comes in. So we had a 6.10.1, a 6.10.2. That's just our numbering system for our
         releases.
         THE COURT: And each of those, the last number would be a minor release; the
         one before that would be a major release, is that it?
         THE WITNESS: Exactly. Exactly. And if it's a really, really big change we would
         change this to 7.0.
         THE COURT: Okay. When did you get to level 6?
         THE WITNESS: That was in around 2012 I think it is when we started shipping
         6.0.
         THE COURT: And when did you get to 6.10?
         THE WITNESS: That was in the 2017 time frame.
         THE COURT: Okay. You may proceed. Trial Tr. 2148:8-2149:11.

         Mr. Llewallyn testified that he had never heard of Centripetal:

         BY MR.BAIRD:
         Q. Okay. Last question or set of questions:
         Had you ever heard of a company called Centripetal
         Networks before this lawsuit?
         A. I had not.
         Q. In developing StealthWatch, have you ever referred to or relied on anything in
         any way,shape, or form from Centripetal?
         A.I have not. Trial Tr. 2196:2-9.

         Therefore he would not have been involved in the exchange of technology between Cisco

  and Centripetal which resulted in integrating the new version of StealthWatch with CTA. He

  confirmed this on his cross examination by Centripetal:


         BY MR. ANDRE (Centripetal counsel):
         Q. You don't know what goes on over in Cognitive Threat


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          Analytics, do you?
          A. I do not,just the big picture. Trial Tr. 2205:20-22.

          Cisco continued to improve its security software after the June 20, 2017 transformation

  from manual after the fact security software to Centripetal's patented proactive machine learning

   security software. Llewallyn's testimony and PTX-569 illustrate the transition:


          BY MR. ANDRE:
          Q. I'm not asking about automatic. I'm Just saying can the switches and routers ~
          and particularly the Catalyst 9000 switches and the same routers ~ can they block
          bad traffic from coming in based on StealthWatch intelligence that it gives to them
          via the ISE?
          A. That's correct. If the manual quarantine is fired, then the result is those switches
          or routers do initiate the rerouting ofthis IP address's traffic into a quarantined area,
          yeah.
          Q. And so the switches and routers would not let this bad website get to the host,
          right, if StealthWatch gives it the information?
          A. Well, yes. It's more like the host is quarantined, so it won't be able to reach that
          host anymore. The host is kind of segmented off into an area that can do no harm.
          Q. And in that way, StealthWatch is being proactive in prohibiting the attack,
          correct?
          A. 1 don't know about the word "proactive." It's just — it's the result of the manual
          operation of the ISE quarantine. You can call that proactive, I guess, but it's in
          response, though, to me. You're implying to me that it's ~ "proactive" to me means
          before, you know. This is after the fact. Trial Tr. 2202:5-2203:2.

          and:


          BY MR. ANDRE:
          Q. Now, you talked about how StealthWatch works to monitor internal in the
          network, correct?
          A. That's correct.
          Q. You also mentioned how it is integrated with Cisco's Identity Services Engine,
          right?
          A. That's correct.
          Q. Okay. Let's go to Page Bates number 803 ofthis document. And in the left-hand
          column, there's a paragraph next-ffom-the-last on the bottom. It says, "Integration
          of Cisco StealthWatch with Cisco's Identity Services Engine." Do you see that?
          A. Yes, sir.
          Q. It says, "Helps organizations get 360-degree view of their extended network."
          Now, what I want to focus on is at the bottom, where it says, "Simplify
          segmentation throughout your network with centralized control and policy
          enforcement and address threats faster, both proactively with threat detection and

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         retroactively via advanced forensics." Now, StealthWatch, working with other
         products in Cisco's Security Suite, in this case the Identity Services Engine, can
         proactively protect against threats, correct?
         A. Weil, it's based on a manual operation,though. Trial Tr. 2198:15-2199:13.

         Llewallyn describes a manual operation and he also states that there is no correlation

   between StealthWatch alarms and CTA alarms. However, Cisco examined Mr. Llewallyn

  regarding PTX-569,a 2018 Cisco technical document,as follows:


         BY MR.BAIRD (Cisco coimsel):
         Q. And so, Mr. Llewallyn, is it true that this is a 2018 document?
         A. Yes, it is.
         Q. Okay. And what is this document? Is the document still used today for ~ by
         Cisco?
         A. Yes, it is. It's on the Cisco website in the public area.
         Q. Okay. And what is this document?
         A.It's basically how to configure your switches or routers and exporting devices to
         work more effectively with StealthWatch. And it also has some troubleshooting
         issues that you can refer to when working with StealthWatch if you see problems.
         Trial Tr. 2178:8-21.

         Exhibit PTX-569 contains the following language:

        "Cisco StealthWatch Enterprise

        Cisco StealthWatch is a security analytics solution that leverages enterprise
        telemetry from the existing network or public cloud infrastructure. It provides
        advanced threat detection, accelerated threat responses and simplified network
        segmentation using multi-layer machine leaming and entity modeling. With a
        single, agentless solution, you get visibility across the extended network including
        endpoints, branch, data center and cloud. And it is the only product that can detect
         malware in encrypted traffic and ensure policy compliance, without decryption.

        It consumes information about the traffic that is passing through the devices in the
        network such as routers, switches, and firewalls. StealthWatch can analyze
        enterprise telemetry from any source (NetFlow, IPFIC, sFlow, other Layer 7
        protocols) across the extended network, to provide real time visibility into assets
        that are using the network, while profiling each ofthese assets. It provides visibility
        into the east-west traffic in an enterprise network(in addition to north-south traffic)
        and analyzes network behavior to detect policy violations, anomalies as well as data
        consumption in the network. This document covers StealthWatch configuration for
        NetFlow enabled network devices.




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          Aggregation and correlation

          The flow or telemetry represents unidirectional accounting information about the
          traffic that is passing through a network device and is stored at the level ofthe flow
          capable device for a period of time until timeout or until flow ends. This flow will
          them be exported into StealthWatch that will correlate flows from multiple devices
          and interfaces and perform stitching and de-duplication action to provide a single
          bidirectional flow ofthe traffic end-to-end." PTX-569 at Bates No. 270.

          Cisco's counsel did not identify the foregoing language from PTX-569, but they did

   question Llewallyn about certain other language.


         "The Flow Collector usually only needs ingress export from all interfaces on the
          exporter to create interface traffic data for inbound and outbound traffic. For
          devices that use logical interfaces enabling both may cause the Flow Collector to
          double report traffic stats in noninterface documents. We usually ask the Customer
          to choose which data set is most important." PTX-569 at Bates No. 282.

          However, Llewallyn also testified:

          BY MR.BAIRD:
          Q. Okay. Have you done anything in the code to deal with that problem?
          A.I have. Some customers do export ingress/egress for their own reasons, and I've
          added the ability to configure the StealthWatch Flow Collector to ignore the egress
          side. Trial Tr. 2173:4-8.

          The above testimony confirms that the egress portion of the infringing technology is also

  used by his customers.

          Paragraph 9 ofthe Llewallyn affidavit is troublesome. It describes proxy as a device and a

  different type ofequipment, when in reality proxy is more correctly classified as a software feature

  achieved by combining StealthWatch and CTA. The proxy sources are identified as Cisco USA,

  Bluecoat proxy. Squid and McAfee Web Gateway which are sources of intelligence transmitted

  over the internet by subscription. The Cisco product described in PTX-569 does not require any

  additional device or equipment to consume this data as the capability is contained in the Centripetal

  software embedded in Cisco's hardware as shown in the Cisco diagram in PTX-1065 attached to


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   Llewallyn's affidavit. See PTX-1065, Attachment 1 to exhibit A of Cisco's Motion for a New

   Trial, Doc. 625. This Cisco diagram is also cited by the Court on p.76 of the October 5, 2020

   Opinion.



          Paragraph 11 of the Llewallyn affidavit says the third party intelligence data does not

  originate in the switches and routers, which is true, but misleading. Instead this outside the network

  third party data enters as proxy data which is then forwarded via the switches and routers which

   utilize Centripetal software to correlate the proxy data with the NetFlow data thereby creating the

  data to be analyzed by cognitive (threat) analysis as shown in the diagram on page S of the

  Llewallyn affidavit. Llewallyn described the diagramed process in his trial testimony:


          BY MR. BAIRD:
          Q. Okay. Mr. Llewallyn,can youjust briefly orient the Court about how this relates
          to the demonstrative that we were using earlier? Let's just start on the left side.
          What's this client server and this switch-router?
          A. The client server equates to computer A and computer B and the other screens.
          So the client is sending a request to the server above,and it's going through a switch
          or router to do that. As it passes through the switch or router, the NetFlow is
          exported to the Flow Collector to make StealthWatch flow out of it, like we were
          saying, and that copy of the StealthWatch flow is sent to CTA in the cloud for
          analysis, and then the same copy is sent to the database below for the Flow
          Collector, and CTA analyzes it, and it reports back to the StealthWatch
          Management Console anything that it discovered in terms of maliciousness.
          The StealthWatch user on the right, Adam the Analyst, he's using the user interface
          provided by the StealthWatch Management Console. Trial Tr. 2189:10-2090:4.

          By 2018 Cisco had replaced Adam the Analyst with Centripetal's machine learning as

  previously explained by PTX-569.



          The balance ofthe Llewallyn affidavit repeats Cisco's contentions that it didn't make, use,

  offer to sell or sell infringing products from 2017 through June of2020. In their invalidity evidence


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   Cisco nonetheless claimed they possessed and offered for sale the infringing technology in 2014

  and earlier which conflicts with Mr. Llewallyn's and Mr. Jones' trial testimony as well as with

   multiple Cisco technical and marketing documents. In its Rule 52(b)/54(b) motion alleges that

  Centripetal did not prove that Cisco directly infringed the '856 Patent. For the reasons stated in

  this Section V and in Section IV supra the Court FINDS that Cisco did so infringe and DENIES

  this portion of Cisco's motions based upon its claimed noninfringement ofthe '856 Patent.



                        VI. MR.JONES AFFIDAVIT AND PATENT '806


          The conflict between Cisco distinguished engineer Mr. Peter Jones' trial testimony and

  Cisco's presentation of its expert trial testimony was a subject ofthe "Overview ofthe Evidence"

  beginning on page 22 ofthe October 5,2020 Opinion. Cisco now seeks to supplement or perhaps

  to change or obfuscate his trial testimony through one ofits sua sponte arguments in both its Rule

  52(b)/54(b) and 59(a) motions. Initially, the Court observes there is no persuasive authority

  presented in support of supplementing his testimony posttrial via affidavits. However, an

  examination of the Jones affidavit's content discloses that it did not change his description of the

  functionality of Cisco's accused products, which infringe the claims in the '806 Patent referred to

  at trial as the "Rule Swap Patent." As the Court noted in its opinion, at trial Cisco attempted to

  contradict its own distinguished engineer Jones' testimony through its retained expert. Dr. Reddy.

  However, the Court rejected Reddy's testimony and accepted Jones' explanation, which was in

  accord with the other evidence introduced by Centripetal and its experts.


          Jones defines the Access Control List(ACL)as a set of rules:

          BY MR.POWERS(Cisco counsel):
          Q. Okay. Could you briefly explain to the Court what an Access Control List is?



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         A. An Access Control List is basically a set of rules. Each rule contains criteria to
         compare a packet against and an [sic] action. Something to do. Simple actions are
         either to permit or deny, allow a packet to proceed forward or to throw it away.
         Trial Tr. 2549:24-2550:4.



         The UADP is the Cisco diagram illustrated on page 28 ofthe October 5,2020 Opinion

  (DTX-562 at Bates No. 043). Mr. Jones thoroughly explained this Cisco software which the

  Court found infringed the '806 Patent in DTX-562 as follows:


         By MR.POWERS (Cisco counsel):
         Q. Okay. Now, just to the left, there's something called the egress forwarding
         controller. Please tell the Court what the forwarding controller is.
         A. It looks at the headers of the packets, applies the rules to them. It decides the
         fate ofthe packets.
         Q. And just above that, there's something called the PBC,packet buffers complex.
         Do you see that?
         A. I do.
         Q. And could you give the Court an overview of what that component is and how
         it's used during packet processing?
         A. That is where the packets stay, waiting for the results from the ingress
         forwarding controller.
         Q. Do all packets pass through that buffer complex?
         A. They do.
         Q. Please explain any relationship between the packet buffers complex and the
         hitless ACL rule update technique that we talked about yesterday.
         A. There is no relationship.
         Q. Now,if we go to the bottom left-hand comer, there is something called ingress
         FIFO.
         THE COURT: What is that packet buffers complex? What is that?
         THE WITNESS:It is a storage place. So as packets arrive in from ports, the packet
         headers are sent to the ingress forwarding controller. The packet itself goes into the
         packet buffers complex.
         THE COURT: What goes there?
         THE WITNESS: I'm sorry. Could you repeat yourself. Your Honor?
         THE COURT: What goes from the ingress forwarding controller to the packet
         buffers complex? What goes there?
         THE WITNESS: The results of all the mie settings, so the instructions for what to
         do with the packet. A simple case would be throw the packet away. Another one
         would be send it to the stack interface or the ingress forwarding controller.
         THE COURT:The second one would be what, now?




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        THE WITNESS: A very simple answer would be if the rule set at the ACL says to
        discard the packet, the instruction would go from the ingress forwarding controller
        to the packet buffer to discard the packet.
        THE COURT: And you said the second alternative was what?
        THE WITNESS: It would be to send the packet forward,to send it out to a different
        forwarder or switch so it could leave.
        THE COURT: So it could what?
        THE WITNESS: A way to describe this would be the results of like a ~ ofan ACL
        could be either to admit or deny. The ingress forwarding controller processes those
        rules. It may send an instruction to the packet buffers complex to discard the packet,
        or it may send an instruction to tell the packet buffers complex where that packet
        should leave the system.
        THE COURT:So if it goes to the packet buffers complex, it's not going to reach its
        destination -
        THE WITNESS: Let me clarify.
        THE COURT: — its original destination; is that right?
        THE WITNESS: Let me clarity. The packet buffers complex is where the packet
        stays waiting for results from the ingress forwarding controller. It may be dropped,
        or it may be sent on to its destination. For instance, you will see on die right-hand
        side there's links from the packet buffers complex to the egress forwarding
        controller. This is the part in which the packet can leave the system.
        THE COURT: Well, when you say, "leave the system," that means it's been
        blocked; is that right?
        THE WITNESS: No, that does not mean it's been blocked. If it has been blocked,
        it is discarded. If we forward the packet, it will leave out another port on the system.
        It's an example ofthe path on which it would leave.
        THE COURT:But there might be different paths that it would follow. Is that right?
        THE WITNESS: So we have a number ofthese complexes inside the system. This
        would describe when the ingress port and the egress port were on the same UADP.
        The block at the top - you see it's called "stack interface" ~ this is how we link
        together multiple UADPs inside the system. So the results ofthe ingress forwarding
        controller can include a set ofdestinations that the packet needs to leave the system.
        THE COURT: Well,suppose it was going to go to its destination, initial destination.
        Where would it go from the packet buffers complex? Would it go through the
        ingress forwarding controller?
        THE WITNESS: No. If you see, it would not - it would leave through the egress
        forwarding controller. We tend to have ~ the ingress forwarding controller is the
        processing we do on packets as they arrive. The egress forwarding controller is the
        process we do on the packets as they leave the system.
        THE COURT: Well, maybe I'm not understanding what it means to leave the
        system. When you say, "leave the system," where does it go when it leaves the
        system?
        THE WITNESS: It will go out one of the ports. On the front of the switch, you'll
        see a whole set of ports. So packets arrive through a port and are processed. While
        they're waiting for the result, they sit in the packet buffers complex. Once we have



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        the results, which could either be throw the packet away or forward the packet, it
        will leave out through one ofour egress forwarding controllers out to a port.
        THE COURT: And will it go from the egress forwarding controller to Ae original
        destination?
        THE WITNESS: Yes. Trial Tr. 2563:2-2567:8.


        Jones repeated this same explanation a second time in his direct testimony;

        By MR.POWERS(Cisco counsel):
        Q. And, Mr. Jones, could you just remind us what FIFO is?
        A. It's called a first-in-first-out buffer. It's a small queue.
        The packet is then sent into the PEC for storage.
        Q. What is the PEC?
        A. Yes.
        Q. Could you ~ packet buffers complex?
        A. Packet buffers complex.
        Q. Thank you.
        A. At the same time, the packet headers, the addresses ofthe packets, are sent into
        the ingress forwarding controller. The ingress forwarding controller processes the
        packet according to the rules that are in the lookup tables. The result is then sent to
        the packet buffers complex, and it instructs the packet buffers complex what to do
        with the packet. A simple example would be to throw the packet away. Another
        example would be to send it out a port. Ifthe packet is to be sent out a port, it's sent
        from the packet buffers complex to the egress forwarding controller. The egress
        forwarding controller also runs rules, including Access Control Lists. When the
        packet is finished going through the egress forwarding controller, it could also be
        dropped, or it could be sent out a port. It goes via the rewrite engine, which makes
        modifications to the packets. It goes through the egress FIFO, again, a small
        shallow buffer, the block level MACSec, Media Access Control Security ~ it's an
        encryption block ~ and the packet would leave the front panel port. So it comes in
        on the left side, circles around, and goes out on the right side. Trial Tr. 2568:1-
        2569:9.


         And again repeated the same explanation during his very brief cross examination by
  Centripetal:

        EY MR.HANNAH (Centripetal coimsel):
        Q. Thank you. Your Honor. Good morning, Mr. Jones.
        A. Good morning.
        Q. My name is James Hannah. I'll be asking you some questions this morning. I
        want to talk about the Catalyst switches that
        you've been discussing and,in particular, the 9000 series of
        switches, okay?
        A. Yes.
        Q.Now,the Catalyst switches, they can receive rule sets from a variety ofsources;
        isn't that right?


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         A. That is correct.
         Q. And one ofthose sources can be the DNA center; isn't that right?
         A. Yes, they may receive rules from the DNA center.
         Q. And, now,the way the Catalyst processes these rules, in order to process these
         rules,the Catalyst switch must compile them,right,in order to implement the rules?
         A. That is correct.
         Q. And in doing this compiling, it compiles these rules while the old rule set is still
         processing packets, while the old rules are still being applied to packets; isn't that
         right?
         A. That is correct.
         Q. Now,once the compilation is complete, a signal is sent to the processor to stop
         processing packets with the old rule set and to start processing packets with the new
         rule set; isn't that right?
         A. That is correct.
         Q. And then during the two to four clock periods that you mentioned yesterday,
         when there's no processing of packets, the rules are swapped; isn't that right?
         A. That is correct. There is — the processing of packets continues. Packets are
         processed at a maximum frequency oftwo to four clock periods. So we don't stop
         processing the packets, there's just an idle period between two packets,
         Q. But there's a signal that's sent to say, stop processing packets with the old rule
         set and start processing packets with the new rule set, correct?
         A. Yes, we swap from the old to the new.
         Q. And you do that swap in between ~ in that two to four clock cycles that you
         mentioned yesterday, correct?
         A. Right.
         Q. Now,once that process is complete, the system signals that the swap has been
         complete, and then the new rule set will be applied to any subsequent packet; isn't
         that right?
         A. We don't ~ we don't signal that a swap is complete, we just instruct the swap to
         happen.
         Q. Well,there's a return success that happens after the swap is complete, correct?
         A. There's really not. Wejust do a write ofthe new value.
         So it's a memory write.
         Q. A memory write, okay. But in the document, it actually says that you return
         success. That's how you represent that memory write, correct?
         A. Yes.
         MR.HANNAH:No further questions. Your Honor. Trial Tr. 2571:2-2573:9

         Mr. Jones affidavit in paragraphs 8-12 outlines what"he could have testified to." While no

  persuasive authority is cited for such content to be considered, there is nothing in paragraphs 8-12

  to contradict what "he did testify to" at trial. As it did during trial with its expert witness, Dr.

  Reddy, Cisco is attempting to contradict or obfuscate Jones' trial testimony upon which the Court


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  relied. Cisco's principal defense to infringement of the '806 Patent during the trial was that it's

  accused products neither cached(stored)the packets nor subjected them to two sets ofrules during

   processing. Jones' trial testimony, which is not contradicted in his affidavit, confirms that Cisco's

  accused products "store packets in the buffer" (the same function is referred to in the trial as

  "caches") between subjecting each packet to a first set ofrules on ingress and a second on egress.

          As is explained in more detail in its October 5, 2020 Opinion, Jones' testimony

  corroborated Centripetal's own expert testimony and the Court accordingly DENIES both Cisco's

  Rule 52b/54b and its 59(a)(2) motion insofar as they are based upon its alleged noninfnngement

  ofthe '806 Patent.




                             VII. CISCO'S ADDITIONAL EVIDENCE


          Centripetal has cited multiple circuits and other federal courts that have refused to accept

  additional evidence of the nature proffered by Cisco before this Court in post-trial motions, and

  Cisco has not cited any applicable authority to the contrary. Nonetheless, the Court has reviewed

  and considered the affidavits of Mr. Llewallyn and Mr. Jones and finds that there is no content

  therein or content in the attachments to Mr. Llewallyn's affidavit that would change the Court's

  interpretation oftheir trial testimony and the inferences to be drawn therefrom. Cisco has also cited

  testimony from the trial in its briefs, much of which the Court rejected and instead adopted

  testimony presented by Centripetal to the contrary. In addition, in numerous portions of their

  opening and Reply (Rebuttal) briefs, Cisco presents testimonial statements, without reference to

  trial testimony or exhibits that the Court admitted. Such testimonial statements are given no weight

  by the Court, as there are no evidentiary references to support the same.




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         As Centripetal argued, with supporting authorities, in its brief: Cisco cannot simply add

  evidence that was not introduced at trial. See Goldblum v. Klem,510 F.3d 204, 226 n.l4(3d Cir.

  2007)("Evidence is not'new'ifit was available at trial, but a petitioner merely chose not to present

  it to the jury."); see also, Amrine v. Bowersox,238 F.3d 1023, 1029 (8th Cir. 2001), cert, denied,

  534 U.S. 963 (2001)(approving district court's determination on remand that "evidence is new

  only if it was not available at trial and could not have been discovered earlier through the exercise

  of due diligence"); United States v. Starr, 275 F. App'x 788,790(10th Cir. 2008)("[T]he district

  court correctly found that this evidence was available before trial, and in fact had been discovered

  by defense counsel. Thus Starr's claim is not based on'new' evidence, but rather on evidence that

  could have been presented at trial.").



         Numerous federal trial courts cited by Centripetal have come to the same conclusion. See,

  e.g., Berlinger v. Weils Fargo, N.A., No. 2:1 l-cv-459-FtM-29CM, 2016 WL 11423815, at ""l

  (M.D. Fla. Sept. 6,2016); Guisao v. Secretary, Dep't ofCorr., No. 8:15-cv-9-T35AAS,2018 WL

  10883771,at *2(M.D.Fla. Mar.26,2018);Lorme v. Delta Air Lines, Inc., No.03-cv-5239(GBD),

  2005 WL 1653871, at "^5 n.6 (S.D.N.Y. July 13, 2005); Watkins v. Casiano, No. CCB-07-2419,

  2009 WL 2578984, at *3 (D. Md. Aug. 17, 2009), afPd, 413 F. App'x 568 (4th Cir. 2011);

  Connelly v. Blot, No. l:16-cv-1282 (AJT/JFA), 2017 WL 11501501, at *3 (E.D. Va. Oct. 18,

  2017). Cisco has not provided any authority to the contrary. The one case cited by Cisco, Twigg v.

  Norton Co., 894 F.2d 672, 675-676 (4th Cir. 1990), does not support the admissibility of the

  Llewallyn affidavit or its attachments, the Jones affidavit, or the testimonial statements in Cisco

  memoranda, and accordingly this Court FINDS that such evidence is not admissible for purposes

  ofthe Cisco motions ruled upon in this opinion and order.In its October 5,2020 Opinion the Court



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  found direct infringement of the four (4) patents based upon Centripetal's evidence. It further

  found that the functionality explained in Cisco's own evidence as to the '806 Patent based upon

   Mr.Jones' testimony and Cisco's documents would also support infnngement under Centripetal's

  evidence. It was not a sua sponte finding as Cisco's purported defense amounted to an admission

  ofinfringement set forth by its own distinguished engineer, Mr.Jones and corroborated by Cisco's

  technical publications.



         In its other motion under Rules 52(b)and 54(b), Cisco claims that Centripetal did not prove

  Cisco's hardware was embedded with Centripetal's technology or sold in combination with same.

  Interestingly, Cisco states in its Reply (Rebuttal) brief in support of its Rule 52(b)/54(b) motion

  "... but Cisco only admitted that it loaded software onto "some" of the accused firewalls in the

  United States," which is, of course, all Centripetal has to prove in the making, using, and selling

  factor of its infringement case against the firewalls. The factor of sales of the accused products

  embedded and used in combination as for damages is analyzed in Section IV of this opinion.

  Accordingly, the Court DENIES Cisco's motion insofar as it is based upon the noninfringement

  ofthe '806 Patent as argued in both Rule 59(a)(2) and 53(b)/54(b) motions.



                                     VIII. THE '193 PATENT



         Cisco challenges the Court's finding that the accused products directly infnnged the '193

  Patent in its Rule 52(b)/54(b) motion. It alleges in its motion that the Court's finding of direct

  infnngement depends upon the theory that the Identity Services Engine(ISE)device must be found

  to infringe. The use of the word engine may suggest that ISE is a "device," but in reality it is a




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   part of Cisco's infnnging software. The Court did describe ISE as a "device" in patent jargon on

   Page 19 ofthe October 5, 2020 Opinion.

          Cisco states "However, Centripetal's infi-ingement proof also relied extensively on ISE to

   establish infnngement of the '193 Patent." Doc 628 at 9. Actually, Centripetal's expert Dr.

   Mitzenmacher's testimony was to the contrary.


          BY MR.GAUDET(Cisco counsel):
          Q. Dr. Mitzenmacher, you didn't undertake any analysis to figure out how many of
          Cisco's router and switch customers also buy StealthWatch or also buy Cognitive
          Threat Analytics or also buy the Identity Services Engine. You don't know any of
          those numbers. Is that fair?
          A. I certainly couldn't recite them to you. Off the top of my head, I don't know
          them,but,again,since these are both system claims and computer-readable medium
          claims, which relate to the code on the switches and the performance ofthe switches
          and all our end routers, and all of these devices have the code there to do these
          things, as I've described, I just am not clear why that would specifically be relevant
          for me, but... Trial Tr. 804:11-23.

          Cisco also states: "Again,the Court did not find that Cisco's switches and routers are only

  ever used with ISE, and the record would not support such a finding." Doc.628 at 9.

          While it is not clear to the Court precisely what this sentence means,Ex. PTX-563,a Cisco

  technical document introduced by Centripetal during the testimony of Dr. Mitzenmacher (Tr. at

  500)at Page Bates No.415,diagrams StealthWatch forwarding data to ISE which in turn forwards

  data to the switches and routers in which the infringing software is embedded as explained by Dr.

  Mitzenmacher.




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          The language from PTX-1280, also a 2018 Cisco technical document introduced by
  Centripetal during the testimony ofDr. Mitzenmacher,contains the following language confirming
  that the switches and routers perform a two stage process as opposed to only one stage which was
  Cisco's defense to infringement at trial:

              "Notice above that rapid threat containment is seamless in SD-Access fabric, as the
              endpoint continues to be operational in the employee VLAN and the IP address
              remains unchanged. However, the SGT assignment has changed from 4 to 255,
              which is the quarantine SGT.

              Fabric edge devices will then download SGACL permissions specific to SGT 255,
              which will limit the endpoint's network address access until a successful
              remediation is performed." PTX-1280 at Bates No. 21.

              Exhibit PTX-1390, a 2019 Cisco technical document, introduced by Centripetal, illustrates

  at Bates No. 029 how the packets are buffered between being subjected to the two-step process

  and at Bates No. 086 how the packets are subjected to one set of ACLs (rules) at stage one and,

   after being placed in the buffer, another set of ACLs on egress at stage two. As to the'193 Patent,

  this exhibit corroborates the infringing software embedded in Cisco's switches and routers

   processes the data sent to them by ISE and StealthWatch via a two stage process.




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                Cisco Catalyst 9300 Multigigablt-24
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                Security AGL. Processing Order and Priority
                • The following is a conceptual Illustration, in the ASIC the lookup for differertt types of
                  ACL takes place concurrently.
               • A packet is dropped if it hits the deny rule    any of these types of ACLs.
               • RACL is applied only to traffic that Is L3 forwarded.




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         As it did at trial, Cisco attempts to ignore the content of its technical documents that

  Centripetal introduced in evidence as well as the clear inferences to be drawn from them. In its

  Reply (Rebuttal) brief in support of its 59(a)(2) motion, Cisco argues that                 .. Cisco also would

  have offered factual testimony from the many Cisco technical witnesses that were the original

  architects of the relevant products." Doc. 635 at 15, line 20. The Court repeatedly observed in the

  October 5, 2020 Opinion that Cisco failed to call such technical witnesses to respond to its

  technical documents which Centripetal presented as exhibits. The Court inferred in its October 5,

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   2020 Opinion on page 159 that Cisco wished to protect such witnesses from Centripetal's cross

   examination. Cisco goes on to argue in its Reply (Rebuttal) brief in Doc. 635 page 15 line 22,

  "For example, Cisco would have elicited testimony confirming that - contrary to the Court's

  findings(Order at 140-141)the increase in sales was impacted by the addition of numerous non-

  accused features,and had nothing to do with Centripetal's claimed technology." Cisco's marketing

  documents raved about its increased sales based upon the functionality ofthe accused products. If

   Cisco actually had evidence of such new and non-accused features in its hardware or in its own

  software, why would it not present it at trial?



          FRCP 52(b) motions should not attempt to relitigate a theory available at trial. The rule

  states that a party may make a motion requesting the Court "amend its findings—or make

  additional findings—and...amend thejudgment accordingly.""The purpose of motions to amend

  is to correct manifest errors of law or fact or, in some limited situations, to present newly

  discovered evidence." Fontenot v. Mesa Petroleum Co., 791 F. 2d 1207, 1219 (5th Cir. 1986)

  (quoting Evans, Inc. v. Tiffany & Co., 416 F. Supp. 224, 244 (N.D.111.1976))."This is not to say,

  however, that a motion to amend should be employed to introduce evidence that was available at

  trial but was not proffered, to relitigate old issues, to advance new theories, or to secure a rehearing

  on the merits." Id. (citing Evans, Inc. v. Tiffany & Co., 416 F. Supp. 224, 244 (N.D.111.1976)).

  Additionally, as Centripetal argues in its opposition brief, a Rule 52(b) motion should not be

  granted when it "constitute[s] nothing more than an invitation to the district court to reverse itself."

  Weatherchem Corp. v. J.L. Clark, Inc., 163 F.3d 1326, 1336 (Fed. Cir. 1998)(denying motion).

  Doc. 630 at 4. Accordingly insofar as its Rule 52(b)/54(b) motion relies on Centripetal's alleged

  failure to prove direct infringement ofthe'193 Patent, such motion is DENIED.



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                                       IX. THE '176 PATENT


          Cisco challenged the Court's ruling that the '176 Patent was infringed by the accused

   products in both its Rule 52(b)/Rule 54(b) motion and its Rule 59(a)(2) motion. The '176 Patent

   was referred to during the trial as the "Correlation Patent."



          In its Rule 52(b)/ 54(b)Reply (Rebuttal) briefthere is only a single paragraph referencing

  the'176 Patent. The argument is based upon Cisco's made,used,or sold in combination argument

  which the Court analyzed in Section IV of this opinion. Again, Cisco begins its argument in its

  Rule 59(a)(2) opening brief by stating "The Court sua sponte adopted a new claim construction

  and infringement theory with regard to the'176 Patent." Doc.626 at 2. Cisco argues that Dr. Cole

  limited his infringing testimony to a single switch or router. Dr. Cole's cross examination

  testimony does not support Cisco's claim; indeed it may suggest exactly the opposite:


          BY MR.JAMESON (Cisco counsel):
          Q: Now Dr. Cole, this is claim 11 [ofthe'176 Patent], all right?
          A: Once again we have the same caveat that this is the exact wording from the
          patent and nothing's been altered or modified.
          Q: Okay. And if you look at the elements B1 through B4, there is a reference to a
          network device in each ofthose elements, right?
          A: That is correct. There is a network device listed in each ofthose elements.
          Q: And the network device is the router or switch, right?
          A: Once again, we're not infiinging individual components, it's the entire system,
          but the component in this case that's receiving and transmitting those packets is the
          router or switch. Trial Tr. 1101:1-13(emphasis added).

          In any event Centripetal dealt directly with this point when Cisco's expert witness on the

  '176 Patent, Dr. Almeroth testified during his cross examination as follows:


          BY MR.KASTENS (Centripetal counsel):
          Q. And then you said this had to be a single network device,
          correct?


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          A,Not quite. It says a network device here, and then later it's the network device.
          So it's the same network device across the limitations.
          Q.But you do understand that in a patent, when it says A,it can mean one or more;
          is that correct?
          A. That's my understanding.
          Q. So this could be more than one network device, correct?
          A. It could be. Trial Tr. 2278;11-20.



          Mr. Llewallyn also corroborated Centripetal's claim that multiple switches and routers are

   utilized in Cisco's infringing network:

          BY MR.BAIRD:
          Q.Now,this slide just showed one router or switch. Mr. Llewallyn,is it correct that
          the flow collector could be getting NetFlow records from other switches and routers
          along the path between the two computers that aren't shown here?
          A. That's correct. And it's also most common.It's very rare to get it from just one.
          Trial Tr. 2149:12-18.



  The multiple device language also appears in the patent specification. See '176 Patent col.2 1.58-

  63 (filed Jan. 31, 2017)("Network device(s) 120 may include one or more devices (e.g., servers,

  routers, gateways, switches, access points, or the like) that interface hosts 108,110, and 112 with

  network 106. Similarly, network device(s) 122 may include one or more devices that interface

   hosts 114, 116, and 118 with network 106."). Therefore, it was Centripetal and its exhibits that

  introduced the multiple device argument, not the Court sua sponte. Notably "devices" as used in

  the patent means; servers, routers, gateways, switches, access points (another name for firewalls)

  or the like, all expressed in the plural.



          Cisco's repeated references to sua sponte seems to suggest that the Court must somehow

  limit its analysis to the testimony of Centripetal's experts. The Court again observes that Cisco's

  own documents contradict its arguments, in particular PTX-1065 a November 2017 Cisco




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  technical document which is Exhibit A to Mr. Liewallyn's affidavit Doc. 635, Ex. A, Attachment

   1.


         Compare Cisco's argument in its "Reply"(Rebuttal) brief:

        "Had Centripetal or its infringement expert relied on a "one or more" construction
         of the phrase "a network device," then Dr. Almeroth would have explained why
         that theory breaks down as well—namely that the claims would still require
         correlation of packets received into a set of switches or routers with packets
         transmitted by the same set of devices; not just any "correlation" generically with
         other data. Finding a document with the word "correlation" in it is not good enough;
         the claims requires correlation of packets entering with packets exiting the same
         thing. Had Centripetal accused a group of switches or routers. Dr. Almeroth could
         have responded accordingly. But because Centripetal did not raise the Court's new
         theory, Cisco had no notice ofit and no opportunity to present responsive evidence
         at trial.


         Finally, Centripetal's suggestion that its expert Dr. Cole testified regarding
         correlation of logs from multiple devices is incorrect. See 0pp. at 10. Centripetal
        cites a brief discussion of Syslog data in Dr. Cole's redirect examination, which
        contains no suggestion that StealthWatch can correlate logs from multiple switches
        or routers. Trial Tr. 1114:24-1116:20. More importantly, the cited testimony
        actually shows that Dr. Cole does not use Syslog as evidence of infringement. Dr.
        Cole testified: So customers can just use NetFlow by itselfto do that correlation. It
        does not need to use the proxy data." Id. at 1116:12-13. When asked what this
        means for infringement. Dr. Cole testified "This shows that the claim language says
        it must be able to correlate the two NetFlows. So this is confirming that it can
        correlate NetFlow by itself which would consist of ingress and egress NetFlow."
        Id. at 1116:23-1117:1 (emphasis added). In sum. Dr. Cole never opined that
        correlation of Syslogs is infringing; his infringement theory relied entirely on
         correlation ofNetFlow data." Doc.635 at 6.




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                               Stealthwatch + Cognitive Threat Analytics

                                                                                                        Extontfod Visbllttyand
                                                                                                         aehsvlortl Arwl^lu
                                                                                                                   I    ii irf


                                                                                             [o> Advanced Threat Detection


                                                                                                      Encrypted Traffic AnalyUc*
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                                                                                                                       11   ilfcrMii

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               Stealthwatch Integrates with Cognitive Analytics TCA"- aka Cognitive Threat Analytics). This involves the addition of a new
               Information panel on the SMC's Wet>ui. and enhances Stealinwatch further by leveraging CA's cloud based analydcs engine,
               that correlates threat behaviors seen in Che enterprise with (hose seen globally. It uses machine leansing and statistical
               modeling to learn from what It sees and adapt to changing network behavior overtime.


         Compare the foregoing argument by Cisco with its 2017 technical document PTX-1065.

  The explanatory text contains the following language which explains the functionality of the

  diagrammed Cisco network which infringes as made, used, and sold by Cisco and contradicts its

  arguments:



        "...and enhances StealthWatch further by leveraging CA's cloud based analytics
         engine, that correlates threat behaviors seen in the enterprise with those seen
         globally. It uses machine learning and statistical modeling to learn from what it sees
         and adapt to changing network behavior over time...

        ...This solution uses the Proxy ingestion feature to consume Syslog information
         sent from proxy sources, integrating it into StealthWatch's flow visibility...

        ...This Syslog information contains details similar to what a flow record contains:
        Source IP, destination IP, Source Port, Destination Port, URL, Usemame...




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          ...StealthWatch will then correlate the received Syslog and relates it to the flows
          collected from network devices before and after the proxy, providing deeper
          visibility into customers web traffic...

          ...Customer may use either NetFlow or Proxy data, or both..." PTX-1065 at Bates
          No.005.



          In support ofits arguments Cisco attacks a part ofPTX-1065 in the text of Mr. Llewallyn's

  affidavit at Paragraph 11 on Page 5, Doc. 626-1. The explanatory language which appears

  immediately below the diagram in PTX-1065 as it was introduced at trial contains the foregoing

  explanatory language that directly contradicts both Mr.Llewallyn's affidavit and Cisco's argument

  in its Reply (Rebuttal) brief as well as the testimony of Dr. Almeroth, Cisco's expert witness on

  the '176 Patent.(Exhibit 1065 in its entirety is attached to Cisco's brief Doc. 626-1 as Exhibit A).



          Attachments 2 and 3 of Mr. Llewallyn's affidavit amount to no more than a play on words.

  These exhibits use the term "de-duplicated," which is a fimction performed by a previous form of

  StealthWatch when Lancope was still a separate company, as if it described the accused

  technology, which it does not. De-duplication is only one of the many functions of the post Jime

  20,2017 infringing software. The term de-duplication does not even appear in the diagram or the

  text explaining the diagram. Likewise, the Llewallyn affidavit states that "proxy data" in PTX-

   1065 is not "generated" by Cisco's switches and routers, which is correct, but, again, misleading.

  The proxy data, which is intelligence data usually generated by third parties, arrives at Cisco's

  network via the internet whereupon Cisco switches and routers (single as shown in the diagram,

  or multiple), embedded with Centripetal's infringing technology, feed it to StealthWatch which

  correlates it and sends it to Cognitive Analysis(aka Cognitive Threat Analysis)and the correlated

  intelligence data generate rules which are utilized to process such data in its infringing network of



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  switches, routers and, in some instances, firewalls as well. Clearly there is more going on in

   Cisco's post June 20,2017 network than "de-duplicating" as described in attachments 2 and 3.



          The diagram's explanatory text demonstrate that the StealthWatch and Cognitive Threat

   Analysis contain either correlation from a single source through a single router (i.e. NetFlow Data

   to StealthWatch Flow Collector) which processes ingress, correlation and egress through a single

  switch (i.e. NetFlow to StealthWatch Flow Collector to Cognitive Analysis)or multiple switches.

  Proxy Data (such as Syslog and NetFlow Data to StealthWatch Flow Collector or Collectors to

   Cognitive Analysis). See PTX-1060.



          However, PTX-1060, a Cisco technical document introduced by Centripetal during Dr,

   Cole's testimony, demonstrates that as of December 2017 Cisco was having scalability issues

   which indicate the need for multiple StealthWatch Flow Collectors describing multiple switches

  as follows:



          "The Catalyst 9400 series of switches supports analysis of up to 3500 flows per
          second for ETA and are capable of up to 384,000 NetFlow entries per switch(128K
          per ASIC); 192,000 ingress and 192,000 egress based on the installed supervisor
          regardless of the number of linecards installed. At 3500 FPS for ETA, it is
          recommended that it only be configured when the Catalyst 9400 is used as an access
          switch and not in distribution or core of the network. As with the Catalyst 9300,
          ETA on the 9400 when exceeding 3500 flows per second may miss exporting ETA
          records for some flows, causing incomplete ETA fields in flow analysis.

          In addition to the Catalyst 9300 and 9400 specification, you need to carefully
          consider the number of StealthWatch Flow Collectors required to support the
          Catalyst 9300s with ETA configured and the flows per second reaching the Flow
          Collectors." PTX-1060 p. 23.




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          Centripetal's demonstrative exhibit PTX-547 explains that its software technology solves

   Cisco's speed and reliability problems. PTX-547, page 141 ofthe October 5,2020 Opinion.



          Cisco argues that "Finding "a" document with the word correlation is not good enough."

  (emphasis added) In addition to PTX-1065, which both diagrams and explains in depth how the

  '176 Patent is infringed through correlation, the following Cisco technical publications post June

  20,2017 explain the correlation feature in whole or in part; PTX-584 at Bates No.402,PTX-1009

   at Bates No.409, PTX-591 at Bates No.522,PTX-202,PTX-569 at Bates No.272 and PTX-1893

   at Bates Oil. Pre June 20, 2017 older versions of StealthWatch also used the term "correlate"

  (DTX-343 Bates No. 002), however, the technology at that time relied upon manual responses

  from Adam the Analyst and therefore operated only retroactively;

         "The StealthWatch System quickly zooms in on any imusual behavior,immediately
         sending an alarm to the SMC with the contextual information necessary for security
         personnel to take quick, decisive action to mitigate any potential damage." DTX-
          343 at Bates No. 001 (a 2014 document).

          Cisco technical documents also illustrate that Cisco's products continued to rely on manual

  software referred to as"Adam the Analyst" until it copied Centripetal's machine learning software.

  PTX-1089atBatesNo. 239.




          Cisco did not successfully copy all of Centripetal's technology at one time, rather it did so

  over a period of years. It now claims the ability to process billions of packets, where it formerly

  claimed hundreds ofthousands.




          Cisco cannot credibly argue that it was taken by surprise (i.e. sua sponte) by its own

  technical documents or by the patent itself, both of which refer to multiple devices and both of

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  which were introduced by Centripetal during trial. Accordingly what Cisco attempts to classify as

  sua sponte originated in the patent itself, was the subject of cross examination of Cisco's retained

  expert Dr. Almeroth as well as Cisco's direct examination of its distinguished engineer, Mr.

  Llewallyn, and was corroborated by Cisco's own published documents and explanatory text. The

  Court DENIES both Cisco's Rule 59(a)(2) motion and its Rule 52(b)/54(b) motion insofar as each

  motion relies upon its claim that Centripetal failed to prove infringement ofthe '176 Patent.


                                         X. WILLFULNESS


          While Cisco did not directly address willfulness in its brief in support of its Rule 59(a)(2)

  motion, it did argue the point in its Reply (Rebuttal) brief. The Court addressed willfulness in its

  October 5,2020 Opinion in Pages 149-161 as well as on Page 166.



         Cisco is particularly critical of the Court's analysis of Read factor four, Cisco's "size and

  financial condition." Cisco does not dispute the significance ofits "size and financial condition, as

  it portrays itself as "the largest provider of network infrastructure and services for many years

  before any ofthe patents issued." Doc. 635 at Page 17.



         In reviewing Cisco's marketing documents, the Court observes the repeated claims that it

  had "solve[d]a network security challenge previously thought to be unsolvable"(PTX-452 at Page

  648) and was the "Industry's first network with the ability to find threats in encrypted traffic

  without decryption."(PTX-989 at Page 4);see also, PTX-383("Stealthwatch is the first and only

  solution in the industry that can detect malware in encrypted traffic without any decryption using

  Encrypted Traffic Analysis."); PTX-561; PTX-963; PTX-1004; PTX-1010; PTX-1136; PTX-

  1417. All the while Cisco knew that Centripetal had solved the challenge and was providing the

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  software needed to deal with encrypted traffic, based upon information it obtained from Centripetal

  during the Nondisclosure Period. The Nondisclosure Agreement was signed and effective on

  January 26,2016(PTX-99)and confidential information was shared for approximately one and a

  half years thereafter. Thus, Cisco utilized its footprint in the marketplace and financial prowess to

  the detriment of Centripetal and its conduct was willful and egregious.



                                        XI. FINAL ORDER


         The Court has undertaken to analyze each issue raised by Cisco in both of its motions

  individually and collectively. The Court DENIES the relief sought in Cisco's Rule 59(a) as it

  FINDS no merit in any of the grounds upon which Cisco relies. The Court also FINDS no merit

  in any ofthe grounds raised in support ofits Rule 52(b)/54(b) motion when considered individually

  and collectively and accordingly DENIES that motion.



         With regard to Cisco's motion as it separately relates to Rule 54(b)the Court FINDS that

  Cisco's request is mooted by the Court's Order of November 19, 2020 GRANTING the joint

  motion ofthe parties to dismiss, without prejudice, all remaining claims not addressed in its Order

  of October 5,2020.




         Therefore the Court enters FINAL JUDGMENT in favor of Centripetal Networks, Inc.

  against Cisco Systems, Inc. for the reasons and upon the terms set forth in its October 5, 2020

  Order as well as in this Order.




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          The Clerk is REQUESTED to electronically deliver a copy of this Opinion and Order to

   all counsel ofrecord.




          It is SO ORDERED.

                                                                       /s/
                                                        lleiii'y Coke Morgan,Jr.
                                                       Senior United States Di^ict
                                                    Henry Coke Morgan,Jr. yt Vlf
           .^                                       Senior United States District Judge
   March ^ /,2021
   Norfolk, Virginia




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